Case 2:22-cv-00209-GW-MRW Document 46-16 Filed 03/28/22 Page 1 of 3 Page ID #:1080




                         EXHIBIT 15
Case 2:22-cv-00209-GW-MRW Document 46-16 Filed 03/28/22 Page 2 of 3 Page ID #:1081




                                                                                              Mark A. Lemley
                                                                                         415-376-6404 (direct)
                                                                                          415-362-6666 (main)
                                                                                     mlemley@durietangri.com

January 5, 2022

VIA EMAIL

Apple Legal
Apple, Inc.
One Apple Park Way
Cupertino, CA 95014
AppStoreNotice@apple.com

Re: APP89955

Dear Apple App Store:

We are counsel to Garena International I Private Ltd., Garena Online Private Ltd. (now known as Moco
Studios Private Limited), and Sea Ltd. (collectively, “Garena”).

We write in response to your email dated December 23, 2021 wherein you informed Garena that
Krafton, Inc. (“Krafton”) had alleged that Garena’s applications Garena Free Fire – New Age (Apple ID
1300146617) and Garena Free Fire MAX (Apple ID 1480516829) infringe Krafton’s intellectual
property rights, in particular, its copyright. Garena denies Krafton’s allegations and will be disputing
them in the appropriate forum.

In any event, it is a matter of public record that Garena and PUBG Corp. (which merged with Krafton in
2020 and assumed PUBG Corp.’s contractual obligations), previously litigated in arbitration the validity
of a settlement agreement concerning PUBG’s (now Krafton’s) purported copyright claims. See the
Singapore Court of Appeal’s reported judgment in PUBG Corp v Garena International I Pte Ltd and
others [2020] 2 SLR 379, Civil Appeal No. 184 of 2019 (May 19, 2020), a copy of which is enclosed to
this letter.

As stated in the Court of Appeal’s judgment, the settlement agreement provides for “any dispute,
controversy, claim or difference of any kind” arising in connection with the settlement agreement to be
resolved by arbitration. The other details of the referenced settlement agreement are confidential, but
Krafton is aware of its existence and terms. Krafton is also aware that after the arbitration, PUBG Corp.
discontinued the High Court proceedings referred to above. Krafton has chosen not to disclose any of
these matters to Apple in filing this notification.
Case 2:22-cv-00209-GW-MRW Document 46-16 Filed 03/28/22 Page 3 of 3 Page ID #:1082


January 5, 2022
Page 2

To the extent there is any remaining dispute, we fully expect that arbitration will resolve the dispute in
Garena’s favor.

Please direct any further questions or concerns to us. All of Garena’s rights are reserved.

Very truly yours,



Mark A. Lemley

MAL:co

cc:    Yunji Yang (romel1945@bluehole.net)
       Sean Anderson (sranderson@winston.com)
